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                                    UNITED STATES BANKRUPTCY COURT
                                     FOR THE DISTRICT OF DELAWARE

-------------------------------------------------------------x
                                                             :          Chapter 11
In re:                                                       :
                                                             :          Case No. 09-10138 (KG)
Nortel Networks Inc., et al.,1                               :
                                                             :          Jointly Administered
                                          Debtors.           :
                                                             :          Objections due: October 19, 2012 @ 4:00 p.m.
-------------------------------------------------------------x

   COVERSHEET FOR TWELFTH MONTHLY APPLICATION OF MCCARTER &
     ENGLISH, LLP FOR COMPENSATION FOR SERVICES RENDERED AND
REIMBURSEMENT OF EXPENSES AS COUNSEL TO THE OFFICIAL COMMITTEE OF
    RETIREES FOR THE PERIOD AUGUST 1, 2012 THROUGH AUGUST 31, 2012


Name of Applicant:                                         McCarter & English, LLP local counsel to The Official
                                                           Committee of Retirees

Authorized to Provide                                      The Official Committee of Retirees
Professional Services To:

Date of Retention:                                         August 26, 2011

Supplemental Period for Which                              August 1, 2012 through August 31, 2012
Compensation and Reimbursement
Is Sought:

Supplemental Amount of Compensation                                     $539,595.15
Sought as Actual, Reasonable and Necessary:

Supplemental Amount of Expense                                          $3,841.53
Reimbursement Sought As Actual,
Reasonable and Necessary:

This is an            X interim                            __ final application

The total time expended for fee application preparation is approximately 4 hours and the corresponding
compensation requested is approximately $1,480.00.2

1
       The Debtors in these chapter 11 cases, along with the last four digits of each Debtor’s tax identification number, are: Nortel
       Networks Inc. (6332), Nortel Networks Capital Corporation (9620), Nortel Altsystems Inc. (9769), Nortel Altsystems
       International Inc. (5596), Xros, Inc. (4181), Sonoma Systems (2073), Qtera Corporation (0251), CoreTek, Inc. (5722),
       Nortel Networks Applications Management Solutions Inc. (2846), Nortel Networks Optical Components Inc. (3545), Nortel
       Networks HPOCS Inc. (3546), Architel Systems (U.S.) Corporation (3826), Nortel Networks International Inc. (0358),
       Northern Telecom International Inc. (6286), Nortel Networks Cable Solutions Inc. (0567) and Nortel Networks (CALA) Inc.
       (4226). Addresses for the Debtors can be found in the Debtors’ petitions, which are available at http://dm.epiq11.com/nortel.



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If this is not the first application filed, disclose the following for each prior application:

Date Filed            Period Covered               Fees         Expenses   Fees       Expenses Allowed
                                                   Requested    Requested  Allowed
11/9/2011             8/26/2011-9/30/2011            $41,834.25  $3,031.55 $33,467.48         $3,031.55
11/9/2011             10/1/2011-                     $22,293.00     $54.02 $17,834.40            $54.02
                      10/31/2011
11-21-2011            First Quarterly                                                     $64,127.25                 $3,085.57
                      8/26/2011-
                      10/31/2011
12/14/2011            11/1/2011-                      $17,469.00           $592.71        $13,975.20                     $592.71
                      11/30/2011
1/17/2012             12/1/2011-                      $49,994.25           $340.86        $39,995.40                     $340.86
                      12/31/2011
2/7/2012              1/1/2012-1/31/2012              $50,019.00           $152.92       $40,015.20                    $152.92
2/10/2012             Second Quarterly                                                  $117,482.25                  $1,086.49
                      11/1/2011-1/31/2012
3/12/2012             2/1/2012-2/29/2012              $27,894.00         $2,314.33        $22,315.20                 $2,314.33
4/20/2012             3/1/2012-3/31/2012              $12,327.00             $2.40         $9,861.60                     $2.40
5/18/2012             4/1/2012-4/30/2012              $32,274.50           $135.45        $25,819.60                   $135.45
5/23/2012             Third Quarterly                                                     $72,495.00                 $2,452.18
                      2/1/2012-4/30/2012
6/8/2012              5/1/2012-5/31/2012             $70,377.50          $1,460.71        $56,302.00                 $1,460.71
7/12/2012             6-1-2012-6/30/2012             $72,315.95          $1,822.50        $57,852.76                 $1,822.50
8/3/2012              7/1/2012-7/31/2012            $104,521.50            $597.05        $83,617.20                   $597.05
8/22/2012             Fourth Quarterly                                                    247,214.95                 $3,880.26
                      5/1/2012-7/31/2012




2
 Allowance for compensation for such time is not requested in this application, but will be sought in a subsequent fee
application.

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                              TIMEKEEPER SUMMARY

                          Position with Firm, Professional     Hourly     Total
                          License & Area of Expertise          Billing    Hours      Total
Name of Professional                                           Rate       Billed     Compensation
                          Partner, NJ Bar, Tax, Employee
REILLY, WILLIAM T.        Benefits and Finance                  $550.00     41.90        $23,045.00
                          Partner, NJ Bar, Tax, Employee
DANIELE, MARK A.          Benefits and Finance                  $525.00     83.65        $43,916.25
                          Partner, DE Bar, Bankruptcy and
TAYLOR, JR., WILLIAM F.   Restructuring                         $525.00     59.10        $31,027.50
                          Partner, NJ Bar, Tax, Employee
LUDGIN, DAVID A.          Benefits and Finance                  $525.00        .20         $105.00
                          Partner, NJ Bar, Insurance
NATALI, JR., ARNOLD L.    Coverage                              $520.00    123.40        $64,168.00
                          Partner, NJ Bar, Tax, Employee
KORNSTEIN, ALAN F.        Benefits and Finance                  $520.00     35.20        $18,304.00
                          Partner, NJ Bar, Insurance
CHIAFULLO, LOUIS A.       Coverage                              $435.00     66.40        $28,884.00
                          Partner, NJ Bar, Insurance
OSIAS, BRIAN J.           Coverage                              $425.00      2.40         $1,020.00
                          Partner, NJ Bar, Tax, Employee
INSUA, NICHOLAS M.        Benefits and Finance                  $410.00     41.20        $16,892.00
                          Special Counsel, NJ Bar, Tax,
KIMBALL, JANE S.          Employee Benefits and Finance         $390.00     51.21        $19,971.90
HARTY, DAVID              Associate, NY Bar, Real Estate        $415.00      1.50           $622.50
                          Associate, NJ Bar, Insurance
THOMAS, DAVID A.          Coverage                              $405.00     63.30        $25,636.50
                          Associate, NY Bar, Product
KURTZ, MITCHELL S.        Liability                             $400.00     10.30         $4,120.00
ROBERTS AVERY,            Associate, CT Bar, Business &
VANESSA D.                Financial Services Litigation         $390.00     19.50         $7,605.00
COSGROVE KURTZ,           Associate, DE Bar, Product
NORRIS E.                 Liability                             $390.00     30.90        $12,051.00
                          Associate, NJ Bar, Tax & Benefits,
BROWN, KEVIN A.           Executive Compensation                $385.00      8.50         $3,272.50
ROBERTS, JOSHUA                                                 $385.00     51.30        $19,750.50
                          Associate, PA Bar, Insurance
VILLANUEVA, MARK D.       Coverage                              $380.00     29.70        $11,286.00
                          Associate, PA Bar, Insurance
MORRISON, CYNTHIA M.      Coverage                              $380.00     24.10         $9,158.00
                          Associate, NJ Bar, Bankruptcy and
BERNSTEIN, SCOTT H.       Restructuring                         $370.00      2.00          $740.00
                          Associate, CT Bar, Business &
RICE, BRIAN P.            Construction Litigation               $355.00     48.60        $17,253.00
                          Associate, DE Bar, Business &
CUNNINGHAM, BRIAN         Financial Services Litigation         $340.00     63.50        $21,590.00
                          Associate, NJ Bar, Insurance
ALEXANDER, JASON M.       Coverage                              $335.00     96.90        $32,461.50

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                          Associate, NJ Bar, Insurance
DAVIS, CRAIG W.           Coverage                            $335.00     82.90    $27,771.50
                          Associate, CT Bar, Labor &
GRAY, CATHERINE M.        Employment Law                      $335.00     20.80     $6,968.00
                          Associate, DE Bar, Bankruptcy and
KELLAR, JAMES             Restructuring                       $300.00     77.90    $23,370.00
                          Associate, DE Bar, Bankruptcy and
BUCK, KATE R.             Restructuring                       $295.00     30.50     $8,997.50
                          Associate, NJ Bar, Insurance
KAHN, BRETT D.            Coverage                            $280.00     61.30    $17,164.00
NWANERI, NNAMDI, J.       Associate, NY Bar, Real Estate      $245.00     56.30    $13,793.50
                          Associate, DE Bar, Product
HRUBIEC, R. JOSEPH        Liability                           $240.00     50.10    $12,024.00
                          Paralegal, Bankruptcy and
SCHIERBAUM, JARED F.      Restructuring                       $215.00     28.30     $6,084.50
                          Paralegal, Insurance Coverage
BROWN, DEBORAH            Litigation                          $210.00     47.10     $9,891.00
                          Paralegal, Tax, Employee Benefits
SNEDEKER, JAMES A.        and Finance                         $175.00       .20        $35.00
GOLDSON-CAMMOCK,          Paralegal, Bankruptcy and
TAMIKA                    Litigation                          $165.00       .40        $66.00
WILLIAMS, SCOTT           Sr. Litigation Support Project      $200.00      2.30       $460.00
GREENSTONE, JAMES J.      Research Analyst                    $150.00       .60        $90.00
                                                                        1,413.4
TOTAL:                                                                        6   $539,595.15

                          Blended Rate                        $381.75




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                         COMPENSATION BY PROJECT CATEGORY


            Project Category                          Total Hours      Total Fees

  D21       ASSET ANALYSIS AND RECOVERY                         2.40           $1,020.00
  D24       CASE ADMINISTRATION                               121.00          $42,439.00
  D26       EMPLOYMENT BENEFITS/PENSIONS                      327.26         $136,941.65
  D27       FEE/EMPLOYMENT APPLICATIONS                         6.30           $1,543.50
  D30       LITIGATION                                        854.60         $328,027.50
  D34       TAX ISSUES                                           .20             $105.00
  D41       LITIGATION CONSULTING                              14.10           $,6957.00
  D43       OTHER                                              23.10           $7,425.50
  D47       FEE APPLICATIONS – OTHERS                            .30             $157.50
  D61       COURT HEARING                                       8.60           $2,537.00
  D62       GENERAL CASE STRATEGY                              55.60          $12,441.50
            TOTAL:                                        1413.16           $539,595.15




                                 EXPENSE SUMMARY


  Expense Category                                              Total Expenses

  PHOTOCOPIES                                                                   $557.85
  POSTAGE                                                                        $34.09
  TRAVEL EXPENSES                                                                $28.25
  TRANSCRIPTS                                                                   $147.60
  LIBRARY RESEARCH                                                            $2,196.81
  MESSENGER/HAND DELIVERIES                                                     $180.50
  COURT CALL SERVICES                                                            $67.00
  IMAGING                                                                        $50.16
  FEDERAL EXPRESS                                                               $579.27
  TOTAL:                                                                      $3841.53




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                                    UNITED STATES BANKRUPTCY COURT
                                     FOR THE DISTRICT OF DELAWARE

-------------------------------------------------------------x
                                                             :          Chapter 11
In re:                                                       :
                                                             :          Case No. 09-10138 (KG)
                                  1
Nortel Networks Inc., et al.,                                :
                                                             :          Jointly Administered
                                          Debtors.           :
                                                             :          Objections due: October 19, 2012 @ 4:00 p.m.
-------------------------------------------------------------x

  TWELFTH MONTHLY APPLICATION OF MCCARTER & ENGLISH, LLP FOR
    COMPENSATION FOR SERVICES RENDERED AND REIMBURSEMENT
OF EXPENSES AS COUNSEL TO THE OFFICIAL COMMITTEE OF RETIREES FOR
         THE PERIOD AUGUST 1, 2012 THROUGH AUGUST 31, 2012

            McCarter & English LLP ("McCarter & English"), Delaware counsel for The Official

Committee of Retirees in the above captioned cases ("McCarter & English"), submits this application

(the "Application") for interim allowance of compensation for professional services rendered by

McCarter & English to the Official Committee of Retirees for the period August 1, 2012 through

August 31, 2012 (the "Application Period") and reimbursement of actual and necessary expenses

incurred by McCarter & English during the Application Period under sections 330 and 331 of title 11

of the United States Code (the "Bankruptcy Code"), Rule 2016 of the Federal Rules of Bankruptcy

Procedure (the "Bankruptcy Rules"), Rule 2016-2 of the Local Rules of Bankruptcy Practice and

Procedure for the United States Bankruptcy Court of the District of Delaware (the "Local Rules"), the

United States Trustee's Guidelines for Reviewing Applications for Compensation and

Reimbursement of Expenses filed under 11 U.S.C. § 330, effective January 30, 1996 (the "U.S.


1
       The Debtors in these chapter 11 cases, along with the last four digits of each Debtor’s tax identification number, are: Nortel
       Networks Inc. (6332), Nortel Networks Capital Corporation (9620), Nortel Altsystems Inc. (9769), Nortel Altsystems
       International Inc. (5596), Xros, Inc. (4181), Sonoma Systems (2073), Qtera Corporation (0251), CoreTek, Inc. (5722),
       Nortel Networks Applications Management Solutions Inc. (2846), Nortel Networks Optical Components Inc. (3545), Nortel
       Networks HPOCS Inc. (3546), Architel Systems (U.S.) Corporation (3826), Nortel Networks International Inc. (0358),
       Northern Telecom International Inc. (6286), Nortel Networks Cable Solutions Inc. (0567) and Nortel Networks (CALA) Inc.
       (4226). Addresses for the Debtors can be found in the Debtors’ petitions, which are available at http://dm.epiq11.com/nortel.



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Trustee Guidelines") and the Order Under 11 U.S.C. §§ 105(a) and 331, Fed. R. Bankr. P. 2016 and

Del. Bankr. L.R. 2016-2 Establishing Procedures for Interim Compensation and Reimbursement of

Fees and Expenses for Professionals and Official Committee Members (D.I. 222) (the "Interim

Compensation Procedures Order”).2 In support of this Application, McCarter & English represents as

follows:

                                              JURISDICTION

         1.     This Court has jurisdiction over this Application pursuant to 28 U.S.C. §§ 157 and 1334.

This is a core proceeding within the meaning of 28 U.S.C. § 157(b)(2). Venue in this district is

proper pursuant to 28 U.S.C. §§ 1408 and 1409.

                                    PROCEDURAL BACKGROUND

         2.     On January 14, 2009 (the "Petition Date"), the Debtors each filed a voluntary petition for

relief under Chapter 11 of the Bankruptcy Code. The Debtors continue to operate their businesses

and manage their properties as debtors-in-possession pursuant to sections 1107 and 1108 of the

Bankruptcy Code. No trustee or examiner has been appointed in the Debtors' jointly administered

bankruptcy cases.

         3.     On June 21, 2011, the Court entered its Order Pursuant to Section 1114 of the

Bankruptcy Code Appointing an Official Committee of Retired Employees [D.I. 5783].

                               MCCARTER & ENGLISH'S RETENTION

         4.     On August 26, 2011, the Retiree Committee engaged McCarter & English as Delaware

and General Bankruptcy Counsel in connection with these bankruptcy cases. On September 20, 2011,

this Court entered the Order Approving the Retention of McCarter & English, LLP as Delaware

Counsel to the Official Committee of Retired Employees nunc pro tunc to August 26, 2011 (D.1.

6413).


2
 Terms used but not otherwise defined herein have the meanings ascribed to them in the Interim Compensation
Procedures Order.
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                                   FEE PROCEDURES ORDER

      5.    On February 4, 2009, the Court entered the Interim Compensation Procedures Order,

which sets forth the procedures for interim compensation and reimbursement of expenses for all

professionals in these cases (D.1. 222).

      6.    In particular, the Interim Compensation Procedures Order provides that a Professional

may file and serve a Monthly Fee Application with the Court after the first day of each calendar

month. Provided that there are no objections to such Monthly Fee Application filed within twenty

(20) days after the service of a Monthly Fee Application, the Professional may file a certificate of no

objection with the Court, after which the Debtors are authorized to pay such Professional 80 percent

of the fees and 100 percent of the expenses requested in such Monthly Fee Application. If a partial

objection to the Monthly Fee Application is filed, then the Debtors are authorized to pay 80 percent

of the fees and 100 percent of the expenses not subject to an objection.

                                      RELIEF REQUESTED

      7.     McCarter & English submits this Application (a) for allowance of reasonable

compensation for the actual, reasonable and necessary professional services that it has rendered as

Delaware And General Bankruptcy Counsel for the Retiree Committee in these cases for the period

from August 1, 2012 through August 31, 2012, and (b) for reimbursement of actual, reasonable and

necessary expenses incurred in representing the Debtors during that same period.

    8. During the period covered by this Application, McCarter & English incurred fees in the

amount of $543,436.68. For the same period, McCarter & English incurred actual, reasonable and

necessary expenses totaling $3,841.53 with respect to these amounts, as of the date of this

Application, McCarter & English has received no payments.

      9.    Set forth on the foregoing "Compensation by Project Category" is a summary by subject

matter categories of the time expended by timekeepers billing time to these cases.


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     10.    During the Application Period, M&E and the Togut Firm rendered professional services

to the Retiree Committee as requested and as necessary and appropriate in furtherance of the

Debtors’ retired employees’ interests in connection with their rights under section 1114 of the

Bankruptcy Code.

     11.    Exhibit A attached hereto contains logs, sorted by case project category, which show the

time recorded by professionals, paraprofessionals and other support staff and descriptions of the

services provided.

     12.    Exhibit B attached hereto contains a breakdown of disbursements incurred by McCarter

& English during the Application Period.

     13.    McCarter & English charges $.10 per page for photocopying.

     14.    McCarter & English charges $1.00 per page for outgoing domestic facsimiles and does

not charge for incoming facsimiles.

     15.    In accordance with Local Rule 2016-2, McCarter & English has reduced its request for

compensation for non-working travel, if any, to 50% of its normal rate.

     16.    McCarter & English has endeavored to represent the Retiree Committee in the most

expeditious and economical manner possible. Tasks have been assigned to attorneys, paralegals, and

other support staff at McCarter & English so that work has been performed by those most familiar

with the particular matter or task and, where attorney or paralegal involvement was required, by the

lowest hourly rate professional appropriate for a particular matter. Moreover, McCarter & English

has endeavored to coordinate with Togut, Segal & Segal LLP and the other professionals involved in

these cases so as to minimize any duplication of effort and to minimize attorneys' fees and expenses

to the Retiree Committee.




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                                              NOTICE

      17.   No agreement or understanding exists between McCarter & English and any other person

for the sharing of compensation received or to be received for services rendered in or in connection

with these cases.

      18.   The undersigned has reviewed the requirements of Local Rule 2016-2 and certifies to the

best of his information, knowledge and belief that this Application complies with that Rule.

                                          CONCLUSION

        WHEREFORE, McCarter & English respectfully requests that this Court: (a) allow McCarter

& English (i) interim compensation in the amount of $539,595.15 for actual, reasonable and

necessary professional services rendered on behalf of the Retiree Committee during the period

August 1, 2012 through August 31, 2012, and (ii) interim reimbursement in the amount of $3,841.53

for actual, reasonable and necessary expenses incurred during the same period; (b) authorize and

direct the Debtors to pay to McCarter & English the amount of $431,676.12 which is equal to the

sum of 80% ($539,595.15) of McCarter & English’s allowed interim compensation and 100%

($3,841.53) of McCarter & English’s allowed expense reimbursement; and (c) grant such other and

further relief as is just and proper.

                            [Remainder of page intentionally left blank]




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Dated: September 27, 2012             MCCARTER & ENGLISH, LLP
      Wilmington, DE
                                      /s/ William F. Taylor, Jr.______________
                                      William F. Taylor, Jr. (DE Bar I.D. #2936)
                                      Renaissance Centre
                                      405 N. King Street, 8th Floor
                                      Wilmington, DE 19801
                                      (302) 984-6300
                                      (302) 984-6399 Facsimile
                                      wtaylor@mccarter.com

                                      -and-

                                      Albert Togut, Esquire
                                      Neil Berger, Esquire
                                      Togut, Segal & Segal LLP
                                      One Penn Plaza
                                      New York, New York 10119
                                      (212) 594-5000
                                      (212) 967-4258 Facsimile
                                      neilberger@teamtogut.com

                                      Counsel to the Official Committee of Retirees




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